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                               EXHIBIT H


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
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       Criminal Justice Section Standards



       Pretrial Release
                                                   PART I.
                                       GENERAL PRINCIPLES

       Standard 10­1.1                    Purposes of the pretrial release
       decision

                  The purposes of the pretrial release decision
             include providing due process to those accused of
             crime, maintaining the integrity of the judicial process
             by securing defendants for trial, and protecting
             victims, witnesses and the community from threat,
             danger or interference. The judge or judicial officer
             decides whether to release a defendant on personal
             recognizance or unsecured appearance bond, release a
             defendant on a condition or combination of conditions,
             temporarily detain a defendant, or detain a defendant
             according to procedures outlined in these Standards.
             The law favors the release of defendants pending
             adjudication of charges. Deprivation of liberty pending
             trial is harsh and oppressive, subjects defendants to
             economic and psychological hardship, interferes with
             their ability to defend themselves, and, in many
             instances, deprives their families of support. These
             Standards limit the circumstances under which pretrial
             detention may be authorized and provide procedural
             safeguards to govern pretrial detention proceedings.


       Standard 10­1.2.                    Release under least restrictive
       conditions; diversion and other
                   alternative release options

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                  In deciding pretrial release, the judicial officer
             should assign the least restrictive condition(s) of
             release that will reasonably ensure a defendant’s
             attendance at court proceedings and protect the
             community, victims, witnesses or any other person.
             Such conditions may include participation in drug
             treatment, diversion programs or other pre­
             adjudication alternatives. The court should have a
             wide array of programs or options available to
             promote pretrial release on conditions that ensure
             appearance and protect the safety of the community,
             victims and witnesses pending trial and should have
             the capacity to develop release options appropriate to
             the risks and special needs posed by defendants, if
             released to the community. When no conditions of
             release are sufficient to accomplish the aims of pretrial
             release, defendants may be detained through specific
             procedures.


       Standards 10­1.3.                     Use of citations and summonsese

                  The principle of release under least restrictive
             conditions favors use of citations by police or
             summons by judicial officers in lieu of arrest at stages
             prior to first judicial appearance in cases involving
             minor offenses. In determining whether an offense is
             minor, consideration should be given to whether the
             alleged crime involved the use or threatened use of
             force or violence, possession of a weapon, or violation
             of a court order protecting the safety of persons or
             property.


       Standard 10­1.4.                    Conditions of release

                  (a) Consistent with these Standards, each
             jurisdiction should adopt procedures designed to
             promote the release of defendants on their own
             recognizance or, when necessary, unsecured bond.
             Additional conditions should be imposed on release
             only when the need is demonstrated by the facts of
             the individual case reasonably to ensure appearance at
             court proceedings, to protect the community, victims,
             witnesses or any other person and to maintain the
             integrity of the judicial process. Whenever possible,
             methods for providing the appropriate judicial officer
             with reliable information relevant to the release
             decision should be developed, preferably through a
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             pretrial services agency or function, as described in
             Standard 10­1.9.
                   (b)     When release on personal recognizance is not
             appropriate reasonably to ensure the defendant’s
             appearance at court and to prevent the commission of
             criminal offenses that threaten the safety of the
             community or any person, constitutionally permissible
             non­financial conditions of release should be employed
             consistent with Standard 10­5.2.

                   (c)     Release on financial conditions should be used
             only when no other conditions will ensure appearance.
             When financial conditions are imposed, the court should
             first consider releasing the defendant on an unsecured
             bond. If unsecured bond is not deemed a sufficient
             condition of release, and the court still seeks to impose
             monetary conditions, bail should be set at the lowest level
             necessary to ensure the defendant’s appearance and with
             regard to a defendant’s financial ability to post bond.

                   (d)     Financial conditions should not be employed to
             respond to concerns for public safety.

                   (e)     The judicial officer should not impose a financial
             condition of release that results in the pretrial detention of
             a defendant solely due to the defendant’s inability to pay.

                   (f)    Consistent with the processes provided in these
             Standards, compensated sureties should be abolished.
             When financial bail is imposed, the defendant should be
             released on the deposit of cash or securities with the court
             of not more than ten percent of the amount of the bail, to
             be returned at the conclusion of the case.



       Standard 10­1.5.                    Pretrial release decision may include
       diversion and other adjudication
                   alternatives supported by treatment programs

                  In addition to employing release conditions
             outlined in Standard 10­1.4, jurisdictions should
             develop diversion and alternative adjudication options,
             including drug, mental health and other treatment
             courts or other approaches to monitoring defendants
             during pretrial release.


       Standard 10­1.6.                    Detention as an exception to policy
       favoring release




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                 These Standards limit the circumstances under
             which pretrial detention may be authorized and
             provide procedural safeguards to govern pretrial
             detention proceedings. They establish specific criteria
             and procedures for effecting the pretrial detention of
             certain defendants after the court determines that
             these defendants pose a substantial risk of flight, or
             threat to the safety of the community, victims or
             witnesses or to the integrity of the justice process. The
             status of detained defendants should be monitored
             and their eligibility for release should be reviewed
             throughout the adjudication period. The cases of
             detained defendants should be given priority in
             scheduling for trial.


       Standard 10­1.7.                    Consideration of the nature of the
       charge in determining release options

                  Although the charge itself may be a predicate to
             pretrial detention proceedings, the judicial officer
             should exercise care not to give inordinate weight to
             the nature of the present charge in evaluating factors
             for the pretrial release decision except when, coupled
             with other specified factors, the charge itself may
             cause the initiation of a pretrial detention hearing
             pursuant to the provisions of Standard 10­5.9.


       Standard 10­1.8.                    Pretrial release decision should not be
       influenced by publicity or public
                   opinion

                 The judicial officer should not be influenced by
             publicity surrounding a case or attempt to placate
             public opinion in making a pretrial release decision.


       Standard 10­1.9.                    Implication of policy favoring release
       for supervision in the community

                  The policy favoring pretrial release and selective
             use of pretrial detention is inextricably tied to explicit
             recognition of the need to supervise safely large
             numbers of defendants in the community pending
             adjudication of their cases. To be effective, these
             policies require sufficient informational and
             supervisory resources.



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       Standard 10­1.10.                     The role of the pretrial services
       agency

                  Every jurisdiction should establish a pretrial
             services agency or program to collect and present the
             necessary information, present risk assessments, and,
             consistent with court policy, make release
             recommendations required by the judicial officer in
             making release decisions, including the defendant’s
             eligibility for diversion, treatment or other alternative
             adjudication programs, such as drug or other
             treatment courts. Pretrial services should also monitor,
             supervise, and assist defendants released prior to trial,
             and to review the status and release eligibility of
             detained defendants for the court on an ongoing basis.

             The pretrial services agency should:

                   (a)     conduct pre­first appearance inquiries;

                   (b)     present accurate information to the judicial
             officer relating to the risk defendants may pose of failing
             to appear in court or of threatening the safety of the
             community or any other person and, consistent with court
             policy, develop release recommendations responding to
             risk;

                   (c)     develop and provide appropriate and effective
             supervision for all persons released pending adjudication
             who are assigned supervision as a condition of release;

                   (d)     develop clear policy for operating or contracting
             for the operation of appropriate facilities for the custody,
             care or supervision of persons released and manage a
             range of release options, including but not limited to,
             residential half­way houses, addict and alcoholic treatment
             centers, and counseling services, sufficient to respond to
             the risks and problems associated with released
             defendants in coordination with existing cort, corrections
             and community resources;

                   (e)     monitor the compliance of released defendants
             with the requirements of assigned release conditions and
             develop relationships with alternative programs such as
             drug and domestic violence courts or mental health
             support systems;

                   (f)    promptly inform the court of all apparent
             violations of pretrial release conditions or arrests of
             persons released pending trial, including those directly
             supervised by pretrial services as well as those released
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             under other forms of conditional release, and recommend
             appropriate modifications of release conditions according
             to approved court policy. The pretrial services agency
             should avoid supervising defendants who are government
             informants, when activities of these defendants may place
             them in conflict with conditions of release or compromise
             the safety and integrity of the pretrial services
             professional;

                   (g)     supervise and coordinate the services of other
             agencies, individuals or organizations that serve as
             custodians for released defendants, and advise the court
             as to their appropriateness, availability, reliability and
             capacity according to approved court policy relating to
             pretrial release conditions;

                   (h)     review the status of detained defendants on an
             ongoing basis for any changes in eligibility for release
             options and facilitate their release as soon as feasible and
             appropriate;

                   (i)    develop and operate an accurate information
             management system to support prompt identification,
             information collection and presentation, risk assessment,
             release conditions selection, compliance monitoring and
             detention review functions essential to an effective pretrial
             services agency;

                   (j)    assist persons released prior to trial in securing
             any necessary employment, medical, drug, mental or
             other health treatment, legal or other needed social
             services that would increase the chances of successful
             compliance with conditions of pretrial release;

                   (k)     remind persons released before trial of their court
             dates and assist them in attending court; and

                   (l)    have the means to assist persons who cannot
             communicate in written or spoken English.



                                                  PART II.
            Release By Law Enforcement Officer Acting Without An
                                             Arrest Warrant

       Standard 10­2.1.                    Policy favoring issuance of citations

                 It should be the policy of every law enforcement
             agency to issue citations in lieu of arrest or continued
             custody to the maximum extent consistent with the
             effective enforcement of the law. This policy should be
             implemented by statutes of statewide applicability.


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       Standard 10­2.2.                    Mandatory issuance of citation for
       minor offenses

                  (a) Except as provided in paragraph (c), a police
             officer who has grounds to arrest a person for a minor
             offense should be required to issue a citation in lieu of
             taking the accused to the police station or to court. In
             determining whether an offense is minor, the police
             officer should consider whether the alleged crime
             involved the use or threatened use of force or
             violence, possession of a weapon, or violation of a
             court order protecting the safety of persons or
             property.
                   (b)     Except as provided in paragraph (c), when a
             person in custody has been taken to a police station and a
             decision has been made to charge the person with a minor
             offense, the responsible officer should be required to issue
             a citation in lieu of continued custody.

                   (c)     The defendant may be detained when an
             otherwise lawful arrest or detention is necessary to ensure
             the safety of any person or the community, or when the
             accused:

                          (i)     is subject to lawful arrest and fails to
                   identify himself or herself satisfactorily;

                          (ii)    refuses to sign the citation after the
                   officer explains to the accused that the citation
                   does not constitute an admission of guilt and
                   represents only the accused's promise to appear;

                          (iii)    has no ties to the jurisdiction reasonably
                   sufficient to ensure the accused's appearance in
                   court and there is a substantial likelihood that the
                   accused will refuse to respond to a citation;

                          (iv)     previously has failed to appear in
                   response to a citation, summons, or other legal
                   process for an offense;

                          (v)     is not in compliance with release
                   conditions in another case or subject to a court
                   order or is on probation or parole; or

                          (vi)     poses a substantial likelihood of
                   continuing the criminal conduct if not arrested.

                   (d)     When an officer fails to issue a citation for a
             minor offense, but instead takes a suspect into custody,



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             the law enforcement agency should be required to indicate
             the reasons in writing.

                   (e)     Notwithstanding the issuance of a citation, a law
             enforcement officer should be authorized to transport or
             arrange transportation for a cited person to an appropriate
             facility if the person appears mentally or physically unable
             to care for himself or herself.



       Standard 10­2.3.                    Permissive authority to issue citations
       in all cases

                 Each law enforcement agency should promulgate
             regulations designed to increase the use of citations to
             the greatest degree consistent with public safety.
             Except when arrest or continued custody is necessary,
             the regulations should require such inquiry as is
             practicable into the accused's place and length of
             residence, family relationships, references, present
             and past employment, criminal record, and any other
             facts relevant to appearance in response to a citation.


       Standard 10­2.4.                    Lawful searches

                 When an officer makes a lawful arrest, the
             defendant's subsequent release on citation should not
             affect the lawfulness of any search incident to the
             arrest


                                                 PART III.
                         Issuance of Summons in Lieu of Arrest

       Standard 10­3.1.                    Authority to issue summons

                  All judicial officers should be given statutory
             authority to issue a summons rather than an arrest
             warrant in all cases in which a complaint, information,
             or indictment is filed or returned against a person not
             already in custody. Judicial officers should liberally
             utilize this authority unless a warrant is necessary to
             prevent flight, to ensure the safety of the defendant,
             any other person or the community, to prevent
             commission of future crimes or to subject a defendant
             to the jurisdiction of the court when the defendant's
             whereabouts are unknown. If a judicial officer issues a
             summons rather than an arrest warrant in connection
             with an offense, absent exigent circumstances, no law


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             enforcement officer may arrest the accused for that
             offense without obtaining a warrant.


       Standard 10­3.2.                    Mandatory issuance of summons

                 A summons rather than an arrest warrant should
             be mandatory in all cases involving minor offenses
             unless the judicial officer finds that:

                  (a) the accused is subject to lawful arrest and
             fails to identify himself or herself satisfactorily;
                   (b)     the whereabouts of the accused are unknown and
             the issuance of an arrest warrant is necessary to subject
             the accused to the jurisdiction of the court;

                   (c)     an otherwise lawful arrest or detention is
             necessary to ensure the safety of any other person or the
             community;

                   (d)     the accused has no ties to the community
             reasonably sufficient to ensure appearance and there is a
             substantial likelihood that the accused will refuse to
             respond to a summons;

                   (e)     the accused previously has failed to appear
             without just cause in response to a citation, summons, or
             other legal process;

                   (f)    the accused is not in compliance with release
             conditions in another case or is subject to a court order or
             is on probation or parole; or

                   (g)     the accused poses a substantial likelihood of
             continuing the criminal conduct if not arrested.



       Standard 10­3.3.                    Application for an arrest warrant or
       summons

                 (a) Time permitting, in those cases in which the
             judicial officer has discretion to issue a summons
             instead of an arrest warrant, the judicial officer should
             consider:

                          (i)    the accused's ties to the community,
                   including factors such as age, residence,
                   employment and family relationships, reasonably
                   sufficient to ensure appearance;

                          (ii)   the nature of the alleged offense and
                   potential penalty;


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                          (iii)   the accused's past history of response to
                   legal process;

                          (iv)    the accused's past criminal record;

                          (v)     whether the case involves a juvenile or
                   adult offense; and

                          (vi)    whether the accused is in compliance
                   with release conditions in another case or subject
                   to a court order or on probation or parole.

                   (b)     The judicial officer ordinarily should issue a
             summons in lieu of an arrest warrant when the prosecutor
             so requests.

                   (c)     In any case in which the judicial officer issues a
             warrant, the judicial officer should state the reasons in
             writing or on the record for failing to issue a summons.



                                                  PART IV.
                Release by Judicial Officer at First Appearance or
                                               Arraignment

       Standard 10­4.1.                    Prompt first appearance

                   (a)     Arrests should not be timed to cause or extend
             unnecessary pretrial detention.

                   (b)     Unless the defendant is released on citation or in
             some other lawful manner, the defendant should be taken
             before a judicial officer without unnecessary delay. The
             defendant should be presented at the next judicial session
             within [six hours] after arrest. In jurisdictions where this is
             not possible, the defendant should in no instance be held
             by police longer than 24 hours without appearing before a
             judicial officer. Judicial officers should be readily available
             to conduct first appearances within the time limits
             established by this Standard.

             Where a crime of violence is implicated, an assessment of
             the risk posed by the defendant to the victim(s) and
             community should be completed prior to the first
             appearance; but a defendant's first appearance should not
             ordinarily be delayed in order to conduct in­custody
             interrogation or other in­custody investigation. A
             defendant who is not promptly presented should be
             entitled to immediate release under appropriate conditions
             unless pretrial detention is ordered as provided in
             Standards 10­5.8 through 10­5.10.




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       Standard 10­4.2.                    Investigation prior to first
       appearance: development of background
                  information to support release or detention
       determination

                 (a) In all cases in which the defendant is in
             custody and charged with a criminal offense, an
             investigation to provide information relating to pretrial
             release should be conducted by pretrial services or the
             judicial officer prior to or contemporaneous with a
             defendant's first appearance.
                   (b)     Pretrial services should advise the defendant
             that:

                          (i)     the pretrial services interview is
                   voluntary;

                          (ii)    the pretrial services interview is intended
                   solely to assist in determining an appropriate
                   pretrial release option for the defendant;

                          (iii)    any responsive information provided by
                   the defendant during the pretrial services
                   interview will not be used in the current or a
                   substantially­related case either to adjudicate
                   guilt or to arrive at a sentencing decision; but

                          (iv)     the voluntary information provided by
                   the defendant during the pretrial services
                   interview may be used in prosecution for perjury
                   or for purposes of impeachment.

                   (c)     Release may not be denied solely because the
             defendant has refused the pretrial services interview.

                   (d)     The pretrial services interview should include
             advising the defendant that penalties may be imposed for
             providing false information.

                   (e)     The pretrial services interview of the defendant
             should carefully exclude questions relating to the events or
             the details of the current charge.

                   (f)    The pretrial services investigation should include
             factors related to assessing the defendant's risk of flight or
             of threat to the safety of the community or any person, or
             to the integrity of the judicial process. Information relating
             to these factors and the defendant's suitability for release
             under conditions should be gathered systematically and
             considered by the judicial officer in making the pretrial



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             release decision at first appearance and at subsequent
             stages when pretrial release is considered.

                   (g)     The pretrial services investigation should focus
             on assembling reliable and objective information relevant
             to determining pretrial release and should be organized
             according to an explicit, objective and consistent policy for
             evaluating risk and identifying appropriate release options.
             The information gathered in the pre­first appearance
             investigation should be demonstrably related to the
             purposes of the pretrial release decision and should
             include factors shown to be related to risk of flight or of
             threat to the safety of any person or the community and
             to selection of appropriate release conditions, and may
             include such factors as:

                          (i)     the nature and circumstances of the
                   charge when relevant to determining release
                   conditions, consistent with subsection (e) above;

                          (ii)    the person's character, physical and
                   mental condition, family ties, employment,
                   financial resources, length of residence in the
                   community, community ties, past conduct, history
                   relating to drug or alcohol abuse, criminal history,
                   and record concerning appearance at court
                   proceedings;

                          (iii)    whether at the time of the current
                   offense or arrest, the person was on probation, on
                   parole, or on other release pending trial,
                   sentencing, appeal, or completion of sentence for
                   an offense;

                          (iv)     the availability of persons who agree to
                   assist the defendant in attending court at the
                   proper time and other information relevant to
                   successful supervision in the community;

                          (v)     any facts justifying a concern that a
                   defendant will fail to attend court or pose a threat
                   to the safety of any person or the community;
                   and

                          (vi)     factors that may make the defendant
                   eligible and an appropriate subject for conditional
                   release and supervision options, including
                   participation in medical, drug, mental health or
                   other treatment, diversion or alternative
                   adjudication release options.




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                   (h)     The presentation of the pretrial services
             information to the judicial officer should link assessments
             of risk of flight and of public safety threat during pretrial
             release to appropriate release options designed to respond
             to the specific risk and supervision needs identified. The
             identification of release options by pretrial services for the
             consideration of the judicial officer should be based on
             detailed agency guidelines developed in consultation with
             the judiciary to assist in pretrial release decisions.
             Suggested release options should be supported by
             objective, consistently applied criteria contained in the
             guidelines. The results of the pretrial services investigation
             and recommendation of release options should be
             promptly transmitted to relevant first­appearance
             participants before the hearing, including information
             relevant to alternative release options, conditional release
             treatment and supervision programs, or eligibility for
             pretrial detention, so that appropriate actions may be
             taken in a timely fashion.



       Standard 10­4.3.                    Nature of first appearance

                  (a) The first appearance before a judicial officer
             should take place in such physical surroundings as are
             appropriate to the administration of justice. Each case
             should receive individual treatment, and decisions
             should be based on the particular facts of the case and
             information relevant to the purposes of the pretrial
             release decision as established by law and court
             procedure. The proceedings should be conducted in
             clear and easily understandable language calculated to
             advise defendants effectively of their rights and the
             actions to be taken against them. The first appearance
             should be conducted in such a way that other
             interested persons may attend or observe the
             proceedings
                   (b)     At the defendant's first appearance, the judicial
             officer should provide the defendant with a copy of the
             charging document and inform the defendant of the
             charge and the maximum possible penalty on conviction,
             including any mandatory minimum or enhanced sentence
             provision that may apply. The judicial officer should advise
             the defendant that the defendant:

                          (i)   is not required to say anything, and that
                   anything the defendant says may be used against
                   him or her;

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                          (ii)    if represented by counsel who is present,
                   may communicate with his or her attorney at the
                   time of the hearing;

                          (iii)   has a right to counsel in future
                   proceedings, and that if the defendant cannot
                   afford a lawyer, one will be appointed;

                          (iv)    if not a citizen, may be adversely
                   affected by collateral consequences of the current
                   charge, such as deportation;

                          (v)     if a juvenile being treated as an adult,
                   has the right, where applicable, to the presence of
                   a parent or guardian;

                          (vi)    if necessary, has the right to an
                   interpreter to be present at proceedings; and

                          (vii)    where applicable, has a right to a
                   preliminary examination or hearing.

                   (c)     Unless the defendant is released at the first
             appearance, if the defendant is not represented, counsel
             should be appointed immediately. The next judicial
             proceeding should occur promptly, but not until the
             defendant and defense counsel have had an adequate
             opportunity to confer, unless the defendant has
             intelligently waived the right to be represented by counsel.

                   (d)     The defendant should be provided an opportunity
             to communicate with family or friends for the purposes of
             facilitating pretrial release or representation by counsel.

                   (e)     A record should be made of the proceedings at
             first appearance. The defendant also should be advised of
             the nature and approximate schedule of all further
             proceedings to be taken in the case.

                   (f)    The judicial officer should decide pretrial release
             in accordance with the general principles identified in
             these Standards.

                   (g)     If, at the first appearance, the prosecutor
             requests the pretrial detention of a defendant under
             Standards 10­5.8 through 10­5.10, a judicial officer should
             be authorized, after a finding of probable cause to believe
             that a defendant has committed an offense as alleged in
             the charging document, to order temporary pretrial
             detention following procedures under Standard 10­5.7 or
             to conduct a pretrial detention hearing under Standard 10­
             5.10.



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                                                   PART V.
                          The Release and Detention Decisions

       Standard 10­5.1.                    Release on defendant's own
       recognizance

                  (a) It should be presumed that defendants are
             entitled to release on personal recognizance on
             condition that they attend all required court
             proceedings and they do not commit any criminal
             offense. This presumption may be rebutted by
             evidence that there is a substantial risk of
             nonappearance or need for additional conditions as
             provided in Standard 10­5.2, or by evidence that the
             defendant should be detained under Standards 10­5.8,
             10­5.9 and 10­5.10 or conditionally released pending
             diversion or participation in an alternative adjudication
             program as permitted under Standard 10­1.5.
                   (b)     In determining whether there is a substantial risk
             of nonappearance or threat to the community or any
             person or to the integrity of the judicial process if the
             defendant is released, the judicial officer should consider
             the pretrial services assessment of the defendant's risk of
             willful failure to appear in court or risk of threat to the
             safety of the community or any person, victim or witness.
             This may include such factors as:

                       (i) the nature and circumstances of the
                   offense when relevant to determining release
                   conditions;
                          (ii)    the defendant's character, physical and
                   mental condition, family ties, employment status
                   and history, financial resources, length of
                   residence in the community, community ties, past
                   conduct, history relating to drug or alcohol abuse,
                   criminal history, and record concerning
                   appearance at court proceedings;

                          (iii)   whether at the time of the current
                   offense or arrest, the person was on probation,
                   parole, or other release pending trial, sentencing,
                   appeal, or completion of sentence for an offense;

                          (iv)    availability of persons who agree to
                   assist the defendant in attending court at the
                   proper time and other information relevant to
                   successful supervision in the community;

                          (v)     any facts justifying a concern that the
                   defendant will violate the law if released without
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                   restrictions; and

                          (vi)    factors that may make the defendant
                   eligible and an appropriate subject for conditional
                   release and supervision options, including
                   participation in medical, drug, mental health or
                   other treatment, diversion or alternative
                   adjudication release options.

                  (c)     In the event the judicial officer determines that
             release on personal recognizance is unwarranted, the
             officer should include in the record a statement, written or
             oral, of the reasons for this decision.



       Standard 10­5.2.                    Conditions of release

                 (a) If a defendant is not released on personal
             recognizance or detained pretrial, the court should
             impose conditional release, including, in all cases, a
             condition that the defendant attend all court
             proceedings as ordered and not commit any criminal
             offense. In addition, the court should impose the least
             restrictive of release conditions necessary reasonably
             to ensure the defendant's appearance in court, protect
             the safety of the community or any person, and to
             safeguard the integrity of the judicial process. The
             court may:

                       (i) release the defendant to the
                   supervision of a pretrial services agency, or
                   require the defendant to report on a regular10
                   basis to a designated law enforcement agency,
                   pretrial services agency, or other agency;
                          (ii)   release the defendant into the custody or
                   care of some other qualified organization or
                   person responsible for supervising the defendant
                   and assisting the defendant in making all court
                   appearances. Such supervisor should be expected
                   to maintain close contact with the defendant, to
                   assist the defendant in making arrangements to
                   appear in court, and, when appropriate,
                   accompany the defendant to court. The supervisor
                   should not be required to be financially
                   responsible for the defendant nor to forfeit money
                   in the event the defendant fails to appear in court.
                   The supervisor should promptly report a
                   defendant's failure to comply with release



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                   conditions to the pretrial services agency or
                   inform the court;

                          (iii)   impose reasonable restrictions on the
                   activities, movements, associations, and
                   residences of the defendant, including curfew,
                   stay away orders, or prohibitions against the
                   defendant going to certain geographical areas or
                   premises;

                          (iv)    prohibit the defendant from possessing
                   any dangerous weapons and order the defendant
                   to immediately turn over all firearms and other
                   dangerous weapons in defendant's possession or
                   control to an agency or responsible third party
                   designated by the court; and prohibit the
                   defendant from engaging in certain described
                   activities, or using intoxicating liquors or certain
                   drugs;

                          (v)     conditionally release the defendant
                   pending diversion or participation in an alternative
                   adjudication program, such as drug, mental
                   health or other treatment courts;

                          (vi)    require the defendant to be released on
                   electronic monitoring, be evaluated for substance
                   abuse treatment, undergo regular drug testing, be
                   screened for eligibility for drug court or other drug
                   treatment program, undergo mental health or
                   physical health screening for treatment,
                   participate in appropriate treatment or supervision
                   programs, be placed under house arrest or
                   subject to other release options or conditions as
                   may be necessary reasonably to ensure
                   attendance in court, prevent risk of crime and
                   protect the community or any person during the
                   pretrial period;

                          (vii)    require the defendant to post financial
                   conditions as outlined under Standard 10­5.3,
                   execute an agreement to forfeit, upon failing to
                   appear as required, property of a sufficient
                   unencumbered value, including money, as is
                   reasonably necessary to ensure the appearance of
                   the defendant, and order the defendant to provide
                   the court with proof of ownership and the value of
                   the property along with information regarding
                   existing encumbrances as the judicial officer may
                   require;


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                          (viii)    require the defendant to return to
                   custody for specified hours following release for
                   employment, schooling, or other limited purposes;
                   and

                          (ix)     impose any other reasonable restriction
                   designed to ensure the defendant's appearance,
                   to protect the safety of the community or any
                   person, and to prevent intimidation of witnesses
                   or interference with the orderly administration of
                   justice.

                   (b)     After reasonable notice to the defendant and a
             hearing, when requested and appropriate, the judicial
             officer may at any time amend the order to impose
             additional or different conditions of release.



       Standard 10­5.3.                    Release on financial conditions

                   (a)     Financial conditions other than unsecured bond
             should be imposed only when no other less restrictive
             condition of release will reasonably ensure the defendant's
             appearance in court. The judicial officer should not impose
             a financial condition that results in the pretrial detention of
             the defendant solely due to an inability to pay.

                   (b)     Financial conditions of release should not be set
             to prevent future criminal conduct during the pretrial
             period or to protect the safety of the community or any
             person.

                   (c)     Financial conditions should not be set to punish
             or frighten the defendant or to placate public opinion.

                   (d)     On finding that a financial condition of release
             should be set, the judicial officer should require the first of
             the following alternatives thought sufficient to provide
             reasonable assurance of the defendant's reappearance:

                          (i)    the execution of an unsecured bond in an
                   amount specified by the judicial officer, either
                   signed by other persons or not;

                          (ii)     the execution of an unsecured bond in an
                   amount specified by the judicial officer,
                   accompanied by the deposit of cash or securities
                   equal to ten percent of the face amount of the
                   bond. The full deposit should be returned at the
                   conclusion of the proceedings, provided the
                   defendant has not defaulted in the performance of
                   the conditions of the bond; or

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                          (iii)   the execution of a bond secured by the
                   deposit of the full amount in cash or other
                   property or by the obligation of qualified,
                   uncompensated sureties.

                   (e)     Financial conditions should be the result of an
             individualized decision taking into account the special
             circumstances of each defendant, the defendant's ability to
             meet the financial conditions and the defendant's flight
             risk, and should never be set by reference to a
             predetermined schedule of amounts fixed according to the
             nature of the charge.

                   (f)    Financial conditions should be distinguished from
             the practice of allowing a defendant charged with a traffic
             or other minor offense to post a sum of money to be
             forfeited in lieu of any court appearance. This is in the
             nature of a stipulated fine and, where permitted, may be
             employed according to a predetermined schedule.

                   (g)     In appropriate circumstances when the judicial
             officer is satisfied that such an arrangement will ensure
             the appearance of the defendant, third parties should be
             permitted to fulfill these financial conditions,



       Standard 10­5.4.                    Release order provisions

                    In a release order, the judicial officer should:

                   (a)     include a written statement that sets forth all the
             conditions to which the release is subject, in a manner
             sufficiently clear and specific to serve as a guide for the
             defendant's conduct; and

                   (b)     advise the person of:

                       (i) the consequences of violating a
                   condition of release, including the immediate
                   issuance of a warrant for the defendant's
                   arrest and possible criminal penalties;
                          (ii)    the prohibitions against threats, force, or
                   intimidation of witnesses, jurors and officers of
                   the court, obstruction of criminal investigations
                   and retaliation against a witness, victim or
                   informant; and

                          (iii)   the prohibition against any criminal
                   conduct during pretrial release.



       Standard 10­5.5.                    Willful failure to appear or to comply
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       with conditions

                 The judicial officer may order a prosecution for
             contempt if the person has willfully failed to appear in
             court or otherwise willfully violated a condition of
             pretrial release. Willful failure to appear in court
             without just cause after pretrial release should be
             made a criminal offense.


       Standard 10­5.6.                    Sanctions for violations of conditions
       of release, including revocation of
                  release

                  (a) A person who has been released on
             conditions and who has violated a condition of release,
             including willfully failing to appear in court, should be
             subject to a warrant for arrest, modification of release
             conditions, revocation of release, or an order of
             detention, or prosecution on available criminal
             charges.
                   (b)     A proceeding for revocation of a release order
             may be initiated by a judicial officer, the prosecutor, or a
             representative of the pretrial services agency. A judicial
             officer may issue a warrant for the arrest of a person
             charged with violating a release condition. Once
             apprehended, the person should be brought before a
             judicial officer. To the extent practicable, a defendant
             charged with willfully violating the condition of release
             should be brought before the judicial officer whose order is
             alleged to have been violated. The judicial officer should
             review the conditions of release previously ordered and set
             new or additional conditions.

                   (c)     The judicial officer may enter an order of
             revocation and detention, if, after notice and a hearing,
             the judicial officer finds that there is:

                          (i)     probable cause to believe that the person
                   has committed a new crime while on release; or

                          (ii)    clear and convincing evidence that the
                   person has violated any other conditions of
                   release; and

                          (iii)    clear and convincing evidence, under
                   the factors set forth in Standard 10­5.8, that
                   there is no condition or combinations of conditions
                   that the defendant is likely to abide by that would
                   reasonably ensure the defendant's appearance in


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                   court and protect the safety of the community or
                   any person

                   (d)     When a defendant has been charged with a new
             offense or violations of any conditions of release, he may
             be temporarily detained pending hearing after notice of
             the charges for a period of not more than [five calendar
             days] under this Standard.



       Standard 10­5.7.                    Bases for temporary pretrial detention
       for defendants on release in another                                    case

                 (a) The judicial officer may order the temporary
             detention of a defendant released in another case
             upon a showing of probable cause that the defendant
             has committed a new offense as alleged in the
             charging document if the judicial officer determines
             that the defendant:

                          (i)    is and was at the time the alleged offense
                   was committed:

                              (A) on release pending trial for a
                          serious offense;
                                 (B)    on release pending imposition or
                          execution of sentence, appeal of sentence
                          or conviction, for any offense; or

                                 (C)    on probation or parole for any
                          offense; and

                          (ii)   may flee or pose a danger to the
                   community or to any person.

                   (b)     Unless a continuance is requested by the defense
             attorney, the judicial officer may order the detention of
             the defendant for a period of not more than [three
             calendar days], and direct the attorney for the
             government to notify the appropriate court, probation or
             parole official, or Federal, State or local law enforcement
             official to determine whether revocation proceedings on
             the first offense should be initiated or a detainer lodged.

                   (c)     At the end of the period of temporary detention,
             the defendant should have a hearing on the release or
             detention of the defendant on the new charged offense. If
             such a hearing is not conducted [within five calendar
             days], the defendant should be released on appropriate
             conditions pending trial.


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       Standard 10­5.8.                    Grounds for pretrial detention

                 (a) If, in cases meeting the eligibility criteria
             specified in Standard 10­5.9 below, after a hearing
             and the presentment of an indictment or a showing of
             probable cause in the charged offense, the
             government proves by clear and convincing evidence
             that no condition or combination of conditions of
             release will reasonably ensure the defendant's
             appearance in court or protect the safety of the
             community or any person, the judicial officer should
             order the detention of the defendant before trial.
                   (b)     In considering whether there are any conditions
             or combinations of conditions that would reasonably
             ensure the defendant's appearance in court and protect
             the safety of the community and of any person, the
             judicial officer should take into account such factors as:

                          (i)     the nature and circumstances of the
                   offense charged;

                          (ii)    the nature and seriousness of the danger
                   to any person or the community, if any, that
                   would be posed by the defendant's release;

                          (iii)    the weight of the evidence;

                          (iv)     the person's character, physical and
                   mental condition, family ties, employment status
                   and history, financial resources, length of
                   residence in the community, including the
                   likelihood that the defendant would leave the
                   jurisdiction, community ties, history relating to
                   drug or alcohol abuse, criminal history, and record
                   of appearance at court proceedings;

                          (v)     whether at the time of the current
                   offense or arrest, the person was on probation, on
                   parole, or on other release pending trial,
                   sentencing, appeal, or completion of sentence for
                   an offense;

                          (vi)     the availability of appropriate third party
                   custodians who agree to assist the defendant in
                   attending court at the proper time and other
                   information relevant to successful supervision in
                   the community;

                          (vii)    any facts justifying a concern that a
                   defendant will present a serious risk of flight or of


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                   obstruction, or of danger to the community or the
                   safety of any person.

                   (c)     In cases charging capital crimes or offenses
             punishable by life imprisonment without parole, where
             probable cause has been found, there should be a
             rebuttable presumption that the defendant should be
             detained on the ground that no condition or combination
             of conditions of release will reasonably ensure the safety
             of the community or any person or the defendant's
             appearance in court. In the event the defendant presents
             information by proffer or otherwise to rebut the
             presumption, the grounds for detention must be found to
             exist by clear and convincing evidence.



       Standard 10­5.9.                    Eligibility for pretrial detention and
       initiation of the detention hearing

                 (a) The judicial officer should hold a hearing to
             determine whether any condition or combination of
             conditions will reasonably ensure the defendant's
             appearance in court and protect the safety of the
             community or any person. The judicial officer may not
             order the detention of a defendant before trial except:

                          (i)    upon motion of the prosecutor in a case
                   that involves:

                                 (A)    a crime of violence or dangerous
                          crime; or

                                 (B)    a defendant charged with a
                          serious offense on release pending trial
                          for a serious offense, or on release
                          pending imposition or execution of
                          sentence, appeal of sentence or
                          conviction, or completion of sentence; or
                          on probation or parole for a serious
                          offense involving a crime of violence, a
                          dangerous crime; or

                          (ii)   upon motion of the prosecutor or the
                   judicial officer's own initiative, in a case that
                   involves:

                                 (A)    a substantial risk that a
                          defendant charged with a serious offense
                          will fail to appear in court or flee the
                          jurisdiction; or

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                                  (B)   a substantial risk that a
                          defendant charged in any case will
                          obstruct or attempt to obstruct justice, or
                          threaten, injure, or intimidate a
                          prospective witness or juror.

                   (b)     If the judicial officer finds that probable cause
             exists, except for a defendant held under temporary
             detention, the hearing should be held immediately upon
             the defendant's first appearance before the judicial officer
             unless the defendant or the prosecutor seeks a
             continuance. Except for good cause shown, a continuance
             on motion of the defendant or the prosecutor should not
             exceed [five working days]. Pending the hearing, the
             defendant may be detained.

                   (c)     A motion to initiate pretrial detention proceedings
             may be filed at any time regardless of a defendant's
             pretrial release status.



       Standard 10­5.10.                     Procedures governing pretrial
       detention hearings: judicial orders
                  for detention and appellate review

                 (a) At any pretrial detention hearing, defendants
             should have the right to:

                          (i)     be present and be represented by
                   counsel and, if financially unable to obtain
                   counsel, to have counsel appointed;

                          (ii)    testify and present witnesses on his or
                   her own behalf;

                          (iii)    confront and cross­examine prosecution
                   witnesses; and,

                          (iv)     present information by proffer or
                   otherwise.

                   (b)     The defendant may be detained pending
             completion of the pretrial detention hearing.

                   (c)     The duty of the prosecution to release to the
             defense exculpatory evidence reasonably within its
             custody or control should apply at the pretrial detention
             hearing.

                   (d)     At any pretrial detention hearing, the rules
             governing admissibility of evidence in criminal trials should
             not apply. The court should receive all relevant evidence.
             All evidence should be recorded. The testimony of a

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             defendant should not be admissible in any other criminal
             proceedings against the defendant in the case in chief,
             other than a prosecution for perjury based upon that
             testimony or for the purpose of impeachment in any
             subsequent proceedings.

                   (e)     In pretrial detention proceedings under Standard
             10­5.8 or 10­5.9, where there is no indictment, the
             prosecutor should establish probable cause to believe that
             the defendant committed the predicate offense.

                   (f)    In pretrial detention proceedings, the prosecutor
             should bear the burden of establishing by clear and
             convincing evidence that no condition or combination of
             conditions of release will reasonably ensure the
             defendant's appearance in court and protect the safety of
             the community or any person.

                   (g)     A judicial order for pretrial detention should be
             subject to the following limitations and requirements.

                          (i)     Unless the defendant consents, no order
                   for pretrial detention should be entered by the
                   court except on the conclusion of a full pretrial
                   detention hearing as provided for within these
                   Standards.

                          (ii)    If, on conclusion of a pretrial detention
                   hearing, the court determines by clear and
                   convincing evidence that no condition or
                   combination of conditions will reasonably ensure
                   the appearance of the person as required, and the
                   safety of any other person and the community
                   pursuant to the criteria established within these
                   Standards, the judicial officer should state the
                   reasons for pretrial detention on the record at the
                   conclusion of the hearing or in written findings of
                   fact within [three days]. The order should be
                   based solely upon evidence provided for the
                   pretrial detention hearing. The court's statement
                   on the record or in written findings of fact should
                   include the reasons for concluding that the safety
                   of the community or of any person, the integrity
                   of the judicial process, and the presence of the
                   defendant cannot be reasonably ensured by
                   setting any conditions of release or by
                   accelerating the date of trial.

                          (iii)    The court's order for pretrial detention
                   should include the date by which the detention
                   must be considered de novo, in most cases not

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                   exceeding [90 days]. A defendant may not be
                   detained after that date without a pretrial
                   detention hearing to consider extending pretrial
                   detention an additional [90 days] following
                   procedures under Standards 10­5.8, 10­5.9 and
                   this Standard. If a pretrial detention hearing to
                   consider extending detention of the defendant is
                   not held on or before that date, the defendant
                   who is held beyond the time of the detention
                   order should be released immediately under
                   reasonable conditions that best minimize the risk
                   of flight and danger to the community.

                          (iv)    Nothing in these Standards should be
                   construed as modifying or limiting the
                   presumption of innocence.

                   (h)     A pretrial detention order should be immediately
             appealable by either the prosecution or the defense and
             should receive expedited appellate review. If the detention
             decision is made by a judicial officer other than a trial
             court judge, the appeals should be de novo. Appeals from
             decisions of trial court judges to appellate judges should
             be reviewed under an abuse of discretion standard.



       Standard 10­5.11.                     Requirement for accelerated trial for
       detained defendants

                  Every jurisdiction should establish, by statute or
             court rule, accelerated time limitations within which
             detained defendants should be tried consistent with
             the sound administration of justice. These accelerated
             time limitations should be shorter than current speedy
             trial time limitations applicable to defendants on
             pretrial release. The failure to try a detained defendant
             within such accelerated time limitations should result
             in the defendant's immediate release from detention
             under reasonable conditions that best minimize the
             risk of flight and danger to the community pending
             trial, unless the delay is attributable to or agreed to by
             the defendant


       Standard 10­5.12.                     Re­examination of the release or
       detention decision: status reports
                  regarding pretrial detainees.

                 (a) Upon motion by the defense, prosecution or
             by request of the pretrial services agency supervising
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             released defendants alleging changed or additional
             circumstances, the court should promptly reexamine
             its release decision including any conditions placed
             upon release or its decision authorizing pretrial
             detention under Standards 10­5.8 through 10­5.10.
             The judicial officer may, after notice and hearing when
             appropriate, at any time add or remove restrictive
             conditions of release, short of ordering pretrial
             detention, to ensure court attendance and prevent
             criminal law violation by the defendant.
                   (b)     The pretrial services agency, prosecutor, jail staff
             or other appropriate justice agency should be required to
             report to the court as to each defendant, other than one
             detained under Standards 10­5.8, 10­5.9 and 10­5.10,
             who has failed to obtain release within [24 hours] after
             entry of a release order under Standard 10­5.4 and to
             advise the court of the status of the case and of the
             reasons why a defendant has not been released.

                   (c)     For pretrial detainees subject to pretrial detention
             orders, the prosecutor, pretrial services agency, defender,
             jail staff, or other appropriate agency should file a report
             with the court regarding the status of the defendant's case
             and detention regarding the confinement of defendants
             who have been held more than [90 days] without a court
             order in violation of Standards 10­5.10(g)(iii) and 10­5.11.



       Standard 10­5.13.                     Trial

                 The fact that a defendant has been detained
             pending trial should not be allowed to prejudice the
             defendant at the time of trial or sentencing. The court
             should ensure that the trial jury is unaware of the
             defendant's detention.


       Standard 10­5.14.                     Credit for pre­adjudication detention

                 Every convicted defendant should be given credit,
             against both a maximum and minimum term or a
             determinate sentence, for all time spent in custody as
             a result of the criminal charge for which a sentence of
             imprisonment is imposed.


       Standard 10­5.15.                     Temporary release of a detained
       defendant for compelling necessity



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                  Upon a showing by defense counsel of compelling
             necessity, including for matters related to preparation
             of the defendant's case, a judicial officer who entered
             an order of pretrial detention under Standards 10­5.8
             through 10­5.10 may permit the temporary release of
             a pretrial detained person to the custody of a law
             enforcement or other court officer, subject to
             appropriate conditions of temporary release.


       Standard 10­5.16.                     Circumstances of confinement of
       defendants detained pending
                  adjudication

                  Defendants detained pending adjudication should
             be confined in facilities separate from convicted
             persons awaiting sentencing or serving sentences or
             held in custody pending appeal. The rights and
             privileges of defendants detained pending adjudication
             should not be more restricted than those of convicted
             defendants who are imprisoned. Detained defendants
             should be provided with adequate means to assist in
             their own defense. This requirement includes but is not
             limited to reasonable telephone rates and unmonitored
             telephone access to their attorneys, a law library, and
             a place where they can have unmonitored meetings
             with their attorneys and review discovery.




                                                  PART VI.
                                    Notice to Victims of Crime

       Standard 10­6.1.                    Judicial Assurance of Notice to Victims

                  As part of the pretrial release process, the judicial
             officer should direct the appropriate office or agency to
             provide victim(s) of the crime with notice of any crime
             charged, any conditions imposed on the defendant
             including those related to possession or purchase of
             firearms, and methods of seeking enforcement of
             release conditions.




http://www.americanbar.org/publications/criminal_justice_section_archive/crimjust_standards_pretrialrelease_blk.html                   28/28
